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            Case 2:04-cv-09049-DOC-RNB Document 3816-9 Filed 05/27/08 Page 3 of 41 Page ID
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            Case 2:04-cv-09049-DOC-RNB Document 3816-9 Filed 05/27/08 Page 5 of 41 Page ID
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            Case 2:04-cv-09049-DOC-RNB Document 3816-9 Filed 05/27/08 Page 25 of 41 Page ID
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            Case 2:04-cv-09049-DOC-RNB Document 3816-9 Filed 05/27/08 Page 29 of 41 Page ID
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            Case 2:04-cv-09049-DOC-RNB Document 3816-9 Filed 05/27/08 Page 30 of 41 Page ID
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            Case 2:04-cv-09049-DOC-RNB Document 3816-9 Filed 05/27/08 Page 35 of 41 Page ID
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            Case 2:04-cv-09049-DOC-RNB Document 3816-9 Filed 05/27/08 Page 37 of 41 Page ID
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